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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 1:16-cv-24919-WILLIAMS/GOODMAN

  DAVID TULLOCH

          Plaintiff,
  vs.

  DISTRICT BOARD OF TRUSTEES FOR
  MIAMI-DADE COLLEGE,

        Defendants.
  ______________________________________/

          DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S COMPLAINT AND
                   INCORPORATED MEMORANDUM OF LAW

          Defendant DISTRICT BOARD OF TRUSTEES FOR MIAMI-DADE COLLEGE

  moves, pursuant to Fed. R. Civ. P. 12(b)(2) and (b)(5) and S.D. Fla. L.R. 7.1, to dismiss with

  prejudice Plaintiff DAVID TULLOCH’s Complaint due to insufficient service of process and

  lack of personal jurisdiction. The facts and law in support of Defendant’s Motion are as follows:

          1.       Plaintiff filed this action on November 26, 2016. (DE 1).

          2.       On March 9, 2017, the Court sua sponte dismissed Plaintiff’s Complaint without

  prejudice for failure to timely serve the Complaint within 90 days in accordance with Fed. R.

  Civ. P. 4(m). (DE 6).

          3.       One month later, on April 12, 2017, Plaintiff filed a “Motion to Reopen Case &

  Extend Time to Effect Service of Process.” (DE 7).                On August 14, 2017, the Court granted

  Plaintiff’s Motion, stating that “Plaintiff shall perfect service of process on Defendant, and file

  proof of the same, on or before September 15, 2017.”1 (DE 8).


  1
    As Defendant had not been served with the Complaint, it did not submit a response to Plaintiff’s Motion to Reopen
  Case (DE 6). Although Plaintiff’s Motion was granted, it is worth noting that the Motion contained inaccurate
  representations. First, contrary to the Motion, Defendant did not refuse to provide a waiver of service. While
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          4.       On August 21, 2017, Plaintiff served a summons and complaint on Ann Baker, a

  Human Resources Assistant on the Kendall Campus of Miami Dade College, 11011 SW 104

  Street, Miami, Florida 33176. A copy of the Affidavit of Service from the process server

  retained by Plaintiff is attached as Exhibit 1, and is located at DE 9. In signing the affidavit, the

  process server declared, under penalty of perjury pursuant to Florida Statutes §95.525(2), that the

  facts stated in the affidavit were true.

          5.       Miami Dade College is a public postsecondary educational institution in the

  Florida College System and thus, is classified as a Florida College System institution.

  §1000.21(3)(o), Fla. Stat. As a Florida College System institution, Miami Dade College has a

  Board of Trustees appointed by the Governor of Florida. §1001.61, Fla. Stat.

          6.       Pursuant to Fed. R. Civ. P. 4(j)(2), a “state, … or any other state-created

  governmental organization that is subject to suit must be served by: (A) delivering a copy of the

  summons and of the complaint to its chief executive officer; or (B) serving a copy of each in the

  manner prescribed by that state’s law for serving a summons or like process on such a

  defendant.”

          7.       As to Rule 4(j)(2)(A), the chief executive officer of the District Board of Trustees

  for Miami Dade College is the President of Miami Dade College, Dr. Eduardo J. Padron, Ph.D.

  §1001.61(5), Fla. Stat.; Exhibit 2, Declaration of Javier A. Ley-Soto (“Ley-Soto Decl.”), ¶3.

          8.       As to Rule 4(j)(2)(B), pursuant to section 1001.63, Florida Statutes, service of

  process for suits naming the District Board of Trustees “shall be made on the chair of the board


  Plaintiff’s counsel asserted that he requested a waiver, no such request was received by Defendant or by Defendant’s
  Legal Department. Second, at no point did Defendant attempt to evade service in February 2017, as suggested by
  Plaintiff in February 2017. By his own admission, Plaintiff did not even attempt to serve Defendant’s authorized
  representatives, as specified in this Motion. The only service attempt that Defendant is aware of occurred on March
  22, 2017, when a process server appeared at the College’s Wolfson campus. Defendant declined to accept service of
  the Complaint because the case had been dismissed two weeks earlier on March 9, 2017. See Exhibit 2, Declaration
  of Javier A. Ley-Soto at ¶7. Plaintiff’s Motion to Reopen Case does not mention this belated service attempt.
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  of trustees or, in the absence of the chair, the corporate secretary or designee of the chair.” The

  Chair of the District Board of Trustees is Armando J. Bucelo Jr., and the corporate secretary of

  the District Board of Trustees is Dr. Padron, the President of Miami Dade College. Exhibit 2,

  Ley-Soto Decl. ¶4. The Board Chair does not have another “designee” for purposes of service of

  process. Id.

           9.    The offices of the District Board of Trustees and President Padron are located on

  the Wolfson Campus of Miami Dade College, 300 NE Second Avenue, Miami, Florida 33132.

  Exhibit 2, Ley-Soto Decl. ¶5. Additionally, Defendant requests that the Court take judicial

  notice (pursuant to Fed. R. Evid. 201) of the fact that Board Chair Bucelo is a private attorney

  with the Bucelo Law Group, which is located at 25 W. Flagler Street, Ste 500, Miami, Florida

  33130.         See    The     Florida      Bar’s   “Member      Profile”    for    Mr.     Bucelo:

  https://www.floridabar.org/directories/find-mbr/profile/?num=280755.

           10.   Consistent with Fed. R. Civ. P. 4(j)(2), Plaintiff Tulloch was required to serve his

  Complaint on President Padron or Board Chair Bucelo. However, Plaintiff did not do so.

  Instead and to his detriment, Plaintiff elected to improperly serve a Human Resources Assistant

  located on the College’s Kendall campus. See Exhibit 1; Exhibit 2, Ley-Soto Decl. ¶6.

           11.   As set forth in this Motion, Defendant has fully met its burden to “describe with

  specificity how [Plaintiff’s] service of process [of his Complaint] failed to meet the procedural

  requirements” of Rule 4(j)(2). Kammona v. Onteco Corp., 2013 WL 12095565 (S.D. Fla. July

  18, 2013) (Graham, J.). Even assuming Plaintiff could meet his burden to make a prima facie

  showing of proper service, which he cannot, Defendant has presented “strong and convincing

  evidence [in this Motion] of insufficient process.” Hollander v. Wolf, 2009 WL 3336012, *3

  (S.D. Fla. Oct. 14, 2009) (Ryskamp, J.).
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         12.     Plaintiff’s failure to properly serve Defendant means that this Court does not have

  personal jurisdiction over Defendant: “Service of process is a jurisdictional requirement: a court

  lacks jurisdiction over the person of a defendant when that defendant has not been served.”

  Pardazi v. Cullman Med. Ctr., 896 F.2d 1313, 1317 (11th Cir. 1990); see also Alston v. James A.

  Haley Veterans Hosp., 2014 WL 4452683, *4 (M.D. Fla. Sept. 9, 2014) (“Without valid service,

  the Court lacks personal jurisdiction over Defendant”).

         13.     Accordingly, Plaintiff’s Complaint must be dismissed for insufficient service of

  process and lack of personal jurisdiction. Fed. R. Civ. P. 12(b)(2) and 12(b)(5); see Kammona,

  2013 WL 12095565, *2-3; Pardazi, 896 F.2d at 1317; Alston, 2014 WL 4452683 at *4.

         14.     The dismissal of Plaintiff’s Complaint should be with prejudice as Plaintiff failed

  to comply with this Court’s Order (DE 8) requiring that he “perfect” service on Defendant by

  September 15, 2017.

         WHEREFORE, Defendant DISTRICT BOARD OF TRUSTEES FOR MIAMI-DADE

  COLLEGE respectfully requests that the Court dismiss with prejudice Plaintiff’s Complaint.

  Dated: September 22, 2017                         Respectfully submitted,
          Miami, Florida
                                                    s/ Kara S. Nickel_______________
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                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was served via
  CM/ECF on September 22, 2017 on all counsel or parties of record on the Service List below.


                                             s/Kara S. Nickel________________________
                                             KARA S. NICKEL


                                        SERVICE LIST
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